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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                     §
                                           §              Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                  §
                                           §              Chapter 11 (Subchapter V)
        Debtor                             §

                        STIPULATION AND AGREED ORDER

        The above-captioned debtor and debtor-in-possession (the “Debtor”) and Neil

Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline Barden,

Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto

Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and

Robert Parker (the “Connecticut Plaintiffs”) (together with the Texas Plaintiffs,

the “Sandy Hook Families”) hereby enter into this stipulation and agreed order

(“Stipulation”) as follows:

        WHEREAS, on July 29, 2022 (the “Petition Date”) [Dkt. 1], the Debtor filed a

voluntary petition for relief under subchapter v of chapter 11 of title 11 of the United States

Code in the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Court”);

        WHEREAS, on August 12, 2022, the Subchapter V Deadlines Order [Dkt. 65] was

entered setting the deadline for the Debtor to file a plan of reorganization (the “Plan”)

for October 27, 2022;

        WHEREAS, on October 21, 2022, the Debtor filed its Emergency Motion for

Extension of Time to File a Plan of Reorganization [Dkt. 246], requesting an extension

to file its Plan;



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        WHEREAS, on October 25, 2022, the Court entered the Order Granting Motion

for Extension of Time to File a Plan of Reorganization [Dkt. 254], which extended the

deadline for the Debtor to file its Plan until December 16, 2022; and

        WHEREAS, the Debtor and the Sandy Hook Families have agreed to a

corresponding extension of the deadline to object to dischargeability pursuant to any

potentially applicable law, including, but not limited to 11 U.S.C. § 523(c), which is

currently set for November 7, 2022,1 and without agreeing to the applicability of same.

All parties expressly reserve their rights regarding same.

        NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND, UPON

APPROVAL BY THE BANKRUPTCY COURT, ORDERED THAT:

        1.      The deadline to object to dischargeability of the Debtor pursuant to 11 U.S.C.

§ 523(c) and any other potentially applicable law is extended to January 5, 2023.


Signed:
                                                  Christopher Lopez
                                                  United States Bankruptcy Judge




1See Notice of Chapter 11 Bankruptcy Case [Dkt. 53-1]; see also Fed. R. Bankr. P. 4007(c) (“[A] complaint
to determine the dischargeability of a debt under §523(c) shall be filed no later than 60 days after the first
date set for the meeting of creditors under §341(a)”).




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STIPULATED AND AGREED ON OCTOBER 28, 2022 BY AND AMONG:

THE CONNECTICUT PLAINTIFFS

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-and-

THE TEXAS PLAINTIFFS

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and

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FREE SPEECH SYSTEMS, LLC

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